         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-0609
                 LT Case No. 2013-102539-CFDL
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JOSHUA I. MARTINEZ,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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3.800 Appeal from the Circuit Court for Volusia County.
Randell H. Rowe, III, Judge.

Joshua I. Martinez, Mayo, pro se.

Ashley Moody, Attorney General, Tallahassee, and Mitchell
Sanders, Assistant Attorney General, Daytona Beach, for
Appellee.

                             August 27, 2024


PER CURIAM.

    AFFIRMED.

WALLIS, SOUD, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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